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                           UNITED STATES DISTRICT COURT

                                DISTRICT OF OREGON

                                 PORTLAND DIVISION


 XERCES SOCIETY FOR                                       Case No.: 3:22-cv-790-HZ
 INVERTEBRATE CONSERVATION
 and CENTER FOR BIOLOGICAL
 DIVERSITY,

                            Plaintiffs,

 v.                                                       FIRST AMENDED
                                                          AND SUPPLEMENTAL
                                                          COMPLAINT

 KEVIN SHEA, in his official capacity as
 Administrator of the Animal and Plant
 Health Inspection Service; and the
 ANIMAL AND PLANT HEALTH
 INSPECTION SERVICE,

                            Defendants.

_____________________________________




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       Plaintiffs Xerces Society for Invertebrate Conservation and the Center for Biological
Diversity, on behalf of themselves and their members and supporters, allege as follows:
                                        INTRODUCTION
       1.      Each year, about one billion pounds of conventional pesticides are applied across
the United States. Application of these toxic chemicals has become par for the course as a
supposedly quick fix for the control of many “pests.” In the long run, though, widespread
pesticide use is not a fix for anything, but rather one of the drivers of the ongoing decline of
insect abundance, diversity, and biomass—a decline that threatens to disrupt ecosystems. Many
pollinator populations—including several species of bumble bee and the monarch butterfly—are
declining at an alarming rate, threatening the long-term viability of the very food systems that
pesticides are supposed to benefit.

       2.      The Animal and Plant Health Inspection Service (“APHIS”), an agency within the
U.S. Department of Agriculture, contributes to this crisis by authorizing and funding the spraying
of pesticides on public and private lands across 17 Western states as part of an effort to control
populations of grasshoppers and Mormon crickets on federal rangelands.1 In some years, APHIS
treats millions of acres with pesticides.
       3.      Congress has instructed APHIS to take a holistic approach to grasshopper control,
with pesticides as just one potential tool among many. See 7 U.S.C. § 7717; see also 7 U.S.C.
§ 136r–1. But, in recent years, APHIS has largely ignored Congress’s directions and instead

focused its efforts almost entirely on the use of pesticides. In a typical year, APHIS authorizes
and funds the application of pesticides to hundreds of thousands of acres of public and private
lands throughout the American West, with little disclosure to or input from the public.
       4.      By statute, APHIS is allowed to treat grasshopper outbreaks only when they reach
“levels of economic infestation.” 7 U.S.C. § 7717(c)(1). But APHIS does not have a consistent,
reasonable method for determining when such levels are reached; on the contrary, APHIS has

1
 Hereafter, the term “grasshopper” refers to both grasshoppers and Mormon crickets, unless
differentiation is necessary.

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carried out its program under faulty assumptions about the economic severity of grasshopper
outbreaks, likely leading to more pesticide treatments than are truly warranted.
       5.      Alarmingly, APHIS carries out its rangeland pesticides program with little
transparency and insufficient analysis of the program’s effects on the environment. The agency
re-authorized the national program in 2019, but the environmental impact statement (“EIS”)
prepared pursuant to the National Environmental Policy Act (“NEPA”) does not even disclose
the locations of past pesticide applications. Nor does the 2019 EIS make any meaningful attempt
to consider how APHIS’s program combines with actions taken by other actors—private, state,
tribal, and federal—to affect native pollinators, other invertebrates, or animals and plants that
depend on these invertebrates for food or pollination. Subsequent annual environmental
assessments (“EAs”) for individual states prepared by APHIS under NEPA do not remedy these

deficiencies, and instead leave the public in the dark as to the probable environmental
consequences of APHIS’s program. This is wholly inconsistent with NEPA’s goals of informed
agency decisionmaking and public participation.
       6.      APHIS also re-authorized its rangeland pesticides program in 2019 without
completing programmatic consultation under the Endangered Species Act (“ESA”) with the U.S.
Fish and Wildlife Service (“FWS”). That consultation was started by 2015 but has yet to be
completed, resulting in APHIS and FWS conducting informal and cursory annual consultations
for each state in which APHIS conducts pesticide treatments. But those consultations do not, and

cannot, substitute for a thorough programmatic consultation, because they cannot account for the
cumulative effects of APHIS’s rangeland pesticides program across multiple states and time.
       7.      APHIS’s widespread, routine application of pesticides on public and private
rangelands to manage grasshoppers—many of which never reach economic infestation levels—
harms not just grasshoppers but also numerous non-target insect species critical to ecosystem
functioning and productivity. This, in turn, has repercussions for birds, mammals, and plants that
rely on these insects for food or pollination. Moreover, APHIS’s approach to using pesticides to




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treat grasshopper outbreaks may actually increase the frequency and severity of grasshopper
outbreaks in the long run.
       8.      APHIS’s program threatens to harm the humans that use these lands, as well.
APHIS applies pesticides on and near iconic Western public lands that are biodiversity hotspots
and provide popular recreation opportunities—such as several portions of the Oregon Desert
Trail in southeastern Oregon and the War Horse National Wildlife Refuge in Montana, an area
known for attracting birdwatchers.
       9.      In short, APHIS’s rangeland pesticides program, as currently implemented, is
both an economic and environmental loser: it contributes to the alarming decline of insect
populations and harms ecosystems without making economic sense in the long run.
       10.     Plaintiffs bring suit to force APHIS to comply with the law by completing an

environmental analysis under NEPA that properly considers the impacts of pesticide use on
native ecosystems and imperiled species and adequately informs the public of pesticide
treatments that the agency authorizes and funds.
       11.     Accordingly, Plaintiffs ask this Court to adjudge and declare that APHIS’s EIS
for its rangeland pesticides program violates NEPA, vacate the EIS and associated Record of
Decision (“ROD”), and remand to APHIS to address the legal violations found therein.
Similarly, Plaintiffs ask this Court to adjudge and declare that APHIS’s currently operative state-
level EAs for Oregon, Idaho, Wyoming, and Montana violate NEPA, vacate those EAs and their

associated findings of no significant impact (“FONSIs”), and remand to APHIS. Plaintiffs also
ask this Court to adjudge and declare that APHIS’s ROD and the currently operative state-level
FONSIs for Oregon, Idaho, Wyoming, and Montana violate the Plant Protection Act and the
Federal Insecticide, Fungicide, and Rodenticide Act (“FIFRA”), and remand to APHIS. Finally,
Plaintiffs ask this Court to adjudge and declare that APHIS has violated and continues to violate
the ESA by reauthorizing and carrying out its rangeland pesticides program without first
completing programmatic section 7(a)(2) consultation with FWS and award appropriate
injunctive relief to remedy that violation.


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                                 JURISDICTION AND VENUE
       12.     Jurisdiction is proper in this Court under 28 U.S.C. § 1331 because this action
arises under the laws of the United States, including NEPA, 42 U.S.C. § 4321 et seq., the
Administrative Procedure Act (“APA”), 5 U.S.C. § 701 et seq., the Plant Protection Act 7 U.S.C.
§ 7711 et seq., FIFRA, 7 U.S.C. § 136 et seq., and the Equal Access to Justice Act, 28 U.S.C. §
2412 et seq. Jurisdiction is also proper under the ESA citizen suit provision, 16 U.S.C. § 1540(g),
because this action seeks to enjoin Defendants from further violations of the ESA and its
implementing regulations. An actual, justiciable controversy exists between the parties, and the
requested relief is therefore proper under 28 U.S.C. §§ 2201–02, 5 U.S.C. §§ 701–06, and 16
U.S.C. § 1540(g).
       13.     Venue is proper in this Court under 28 U.S.C. § 1391(e) and 16 U.S.C. §

1540(g)(3)(A) for two independent reasons: (1) Plaintiff Xerces Society for Invertebrate
Conservation resides in the District of Oregon and this case does not involve real property and
(2) a substantial part of the events giving rise to Plaintiffs’ causes of action occurred, are
occurring, or will occur in the District of Oregon.
       14.     The federal government has waived sovereign immunity in this action pursuant to
5 U.S.C. § 702 and § 704 and 16 U.S.C. § 1540(g)(1).
       15.     Plaintiffs have exhausted all administrative remedies and satisfied all other
conditions precedent to bringing this suit, including providing more than 60 days notice of their

intent to add the ESA claim to this action, 16 U.S.C. § 1540(g)(2)(A)(i).
                                             PARTIES
       Plaintiffs
       16.     Plaintiff Xerces Society for Invertebrate Conservation (“Xerces Society”) is a
non-profit organization headquartered in Portland, Oregon that protects the natural world through
the conservation of invertebrates and their habitats. On behalf of its members from across the
United States, Xerces Society works to raise awareness about the plight of invertebrates and to
gain protection for the most vulnerable species before they decline to a level at which recovery is


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impossible. Destruction of habitat, climate change, diseases and invasives, and pesticides are all
contributing to the loss of invertebrate species and thus are key concerns of Xerces Society and
its members.
       17.     Plaintiff Center for Biological Diversity (the “Center”) is a non-profit
environmental organization dedicated to the protection of native species and their habitats
through science, policy, and environmental law. The Center has more than 1.7 million members
and online activists dedicated to the protection and restoration of endangered species and wild
places. One of its main offices is in Portland, Oregon, where many staff, members, and
supporters reside. The Center has worked for over 33 years to protect imperiled plants and
wildlife, open space, air and water quality, and overall quality of life.
       18.     The use of pesticides on rangelands to suppress naturally occurring grasshoppers

and Mormon crickets is of great concern to Xerces Society and the Center. Plaintiffs and their
members, staff, and supporters have spent decades working to protect wildlife, pollinators, and
natural resources from the harmful effects of pesticides. Many of Plaintiffs’ activities––including
research and advocacy––have focused on conserving and protecting species and their habitats
within the public lands subject to APHIS’s grasshopper pesticide treatments. Plaintiffs
participated extensively in the NEPA processes for this program, both for the programmatic
NEPA review and for annual state-level reviews for the past several years. For each of these
processes, Plaintiffs submitted detailed comments to APHIS. Plaintiffs have thus exhausted all

administrative remedies before bringing this action.
       19.     Plaintiff organizations have members, staff, and supporters who regularly visit
and/or recreate on the public lands and adjacent areas that have been, and likely will continue to
be, subject to or affected by applications of pesticides for the purposes of grasshopper and
Mormon cricket suppression. Plaintiffs’ members, supporters, and staff derive recreational,
aesthetic, scientific, inspirational, educational, and other benefits from their use of these public
lands and adjacent areas and plan to continue these activities in the future. The application of
pesticides in these areas harms their use and enjoyment of these lands. Both aerial pesticide


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spraying and the ground application of pesticides prevents them and other members of the public
from accessing and enjoying parts of these lands and adversely impacts their activities where
they do occur. Plaintiffs’ members, supporters, and staff are likely to avoid spending time in
areas that have been recently treated with pesticides due to the health risk they may face if they
come into contact with pesticide residue and/or pesticide-contaminated water or plant material.
And, when they do recreate, collect data, manage their land, and/or conduct educational activities
in areas that might be subject to pesticide treatments, Plaintiffs’ members, supporters, and staff
will reasonably experience anxiety about the possibility that such pesticide use may occur. These
are actual, concrete injuries caused by Defendants’ violations of law, and the relief sought herein
would remedy, at least in part, these injuries.
       20.     Plaintiffs also have members, supporters, and staff who derive recreational,

aesthetic, scientific, inspirational, educational, and other benefits from observing species that are
negatively affected by Defendants’ activities, including the monarch butterfly, yellow bumble
bee, western bumble bee, Suckley’s cuckoo bumble bee, greater sage-grouse, and Sullivan’s
sulphur (butterfly). The decline of these species means that there are fewer and fewer chances for
Plaintiffs’ members, supporters, and staff to observe them in the wild. Defendants’ authorization
and funding of pesticide applications threatens these species and contributes to their decline,
thereby injuring Plaintiffs’ members, supporters, and staff. These injuries stemming from
decreased opportunities to observe species of interest to Plaintiffs and their members, supporters,

and staff are actual, concrete injuries caused by Defendants’ violations of law, and the relief
sought herein would remedy, at least in part, these injuries.
       21.     Plaintiffs and their members, supporters, and staff are also directly injured by
Defendants’ continued application of pesticides throughout Western rangeland ecosystems
without fully disclosing and evaluating the cumulative environmental impacts of those activities.
They are injured by Defendants’ failure to analyze alternatives to toxic pesticides to control
grasshopper outbreaks, including preventative measures. They are also injured by Defendants’
failure to consider program-wide impacts to federally-listed endangered and threatened species


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in compliance with federal law. Plaintiffs and their members, supporters, and staff have a strong
procedural interest in ensuring Defendants comply with all applicable federal statutes and
regulations. Plaintiffs have worked to reform APHIS’s activities related to grasshopper
suppression throughout the West—including in Oregon, Idaho, Montana, and Wyoming—and
have a strong interest in ensuring that Defendants disclose to the public specific information
about environmental impacts of the rangeland pesticides program and past treatment areas, and
consider non-toxic alternatives to the program.
       22.     Defendants’ violations of law have injured and will injure the aesthetic,
commercial, conservation, scientific, recreational, educational, wildlife preservation, procedural,
and other interests of Plaintiffs and their staff, members, and supporters. These are actual,
concrete injuries caused by Defendants’ violations of law, and the relief sought herein would

redress these injuries. Plaintiffs have no adequate remedy at law, and thus the requested relief is
appropriate.
       Defendants
       23.     Defendant Animal and Plant Health Inspection Service is a federal agency that
is part of the U.S. Department of Agriculture (“USDA”). APHIS is responsible for controlling
outbreaks of grasshoppers and Mormon crickets when those outbreaks pose an economic threat
to federal rangelands. See 7 U.S.C. § 7717.
       24.     Defendant Kevin Shea is sued in his official capacity as the Administrator of

APHIS. As Administrator of APHIS, Defendant Shea has the ultimate responsibility for the
agency’s activities and policies, including the rangeland pesticides program. See 7 C.F.R.
§ 2.80(a)(36) (delegation of authority to Administrator).
                                    LEGAL BACKGROUND
       APHIS’s Statutory Authority to Control Grasshoppers and Mormon Crickets
       25.     In 1934, Congress empowered the USDA to treat grasshopper outbreaks by
appropriating money “[f]or the application of such methods of control of grasshoppers as . . .
may be necessary.” Pub. L. No. 73-131, 48 Stat. 467, 498 (1934). Congress instructed that the


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appropriated funds “shall be used for expenditures of general administration and supervision,
purchase and transportation of poisoned bait, or materials for its manufacture, and such other
expenses as in the discretion of the Secretary of Agriculture may be deemed necessary.” Id.
       26.     When APHIS was established in 1972, grasshopper control was put under its
jurisdiction. 37 Fed. Reg. 6,327, 6,327 (Mar. 22, 1972).
       27.     In 1985, a boom in grasshopper population numbers led to APHIS treating 14
million acres of rangeland with pesticides. As APHIS itself has explained, “[t]he cost and
concerns associated with large-scale applications of insecticides after the major [1985] outbreak
. . . elevated the need for developing new and improved ways to manage grasshoppers. From that
need, Congress authorized APHIS to undertake a program for the prevention, suppression,
control, or eradication of grasshopper outbreaks.”2

       28.     Following that outbreak, Congress passed the Food Security Act of 1985, which
included a new authorization for APHIS to treat grasshopper outbreaks. Pub. L. No. 99-198, tit.
XVII, § 1773, 99 Stat. 1354, 1658 (1985). Unlike the previous authorization, this authorization
did not explicitly mention the use of “poison” and instead directed APHIS to use preventive
measures as well as reactive measures to control grasshoppers.
       29.     Additionally, in 1996, Congress instructed that “[f]ederal agencies shall use
Integrated Pest Management techniques in carrying out pest management activities.” Federal
Insecticide, Fungicide, and Rodenticide Act (“FIFRA”), 7 U.S.C. § 136r–1.

       30.     In 2000, Congress repealed the existing authorizations for grasshopper control
and enacted a new authorization as part of the Plant Protection Act. Pub. L. No. 106-224, tit. IV,
§ 417, 114 Stat. 358, 447 (2000), codified at 7 U.S.C. § 7717. That statute—which is still the
operative authorization for the rangeland pesticides program—is very similar to its predecessor.
Its key features are as follows:



2
 2002 EIS for the Rangeland Grasshopper and Mormon Cricket Suppression Program at A-2 to
A-3.

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           a. The statute generally instructs APHIS to “carry out a program to control
              grasshoppers and Mormon crickets on all Federal lands to protect rangeland.”
              7 U.S.C. § 7717(a).
           b. The statute requires the Secretary of the Interior to transfer money to APHIS
              “for the prevention, suppression, and control of actual or potential grasshopper
              and Mormon cricket outbreaks on Federal lands under the jurisdiction of the
              Secretary of Interior.” Id. § 7717(b)(1). APHIS is supposed to request money
              from the Interior “as promptly as possible” and must use its own money
              before using money from Interior. Id. § 7717(b)(2)–(3).
           c. The statute requires APHIS to “immediately treat Federal, State, or private
              lands that are infested with grasshoppers or Mormon crickets at levels of

              economic infestation” when requested to do so by “the administering agency
              or the agriculture department of an affected State,” unless APHIS “determines
              that delaying treatment will not cause greater economic damage to adjacent
              owners of rangeland.” Id. § 7717(c)(1). The treatment must be for the purpose
              of “protect[ing] rangeland.” Id. For treatments on federal lands, APHIS must
              pay 100% of the treatment costs; for treatments on state lands, APHIS must
              pay 50% of the treatment cost; and for treatments on private lands, APHIS
              must pay 33% of the treatment cost. Id. § 7717(d).

           d. APHIS must also “provide adequate funding for a program to train personnel
              to accomplish effectively the objective of this section.” Id. § 7717(e).
           e. The statute instructs APHIS to “work in conjunction with other Federal, State,
              and private prevention, control, or suppression efforts to protect rangeland”
              when carrying out the rangeland pesticides program. Id. § 7717(c)(2).
     The National Environmental Policy Act




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        31.    NEPA is the United States’ basic “charter for protection of the environment.” 40
C.F.R. § 1500.1(a) (2019).3 Its purpose is to “promote efforts which will prevent or eliminate
damage to the environment.” 42 U.S.C. § 4321. The Council on Environmental Quality (“CEQ”)
has promulgated regulations implementing NEPA, which are binding on all federal agencies and
govern APHIS’s decision-making. 40 C.F.R. §§ 1500–1518.4 (2019).
        32.    NEPA requires federal agencies to “take seriously the potential environmental
consequences of a proposed action”—that is, to take a “hard look” at the effects the action will
have on the environment. Ocean Advocates v. U.S. Army Corps of Eng’rs, 402 F.3d 846, 864
(9th Cir. 2005). The statute serves two principal purposes: (1) it ensures that agencies, in
reaching decisions, will have available, and will carefully consider, detailed information
concerning environmental impacts; and (2) it guarantees that the relevant information will be

made available to the public so it may play a role in the decisionmaking process. “Environmental
information [must be made] available to public officials and citizens before decisions are made
and before actions are taken.” 40 C.F.R. § 1500.1(b).
        33.    NEPA requires federal agencies to prepare an environmental impact statement, or
EIS, for all “major federal actions significantly affecting the quality of the human environment.”
42 U.S.C. § 4332(2)(C). An EIS is a “detailed statement” that includes discussions of, inter alia,
“the environmental impact of the proposed action,” “any adverse environmental effects which
cannot be avoided should the proposal be implemented,” and “alternatives to the proposed

action.” Id.
        34.    When an EIS is not necessary, an agency may prepare an environmental
assessment (“EA”) to fulfill its NEPA duties. 40 C.F.R. § 1508.9. An EA must include “brief
discussions of the need for the proposal, of alternatives . . . , [and] of the environmental impacts
of the proposed action and alternatives.” Id. An agency may “tier” a narrower NEPA analysis,

3
 Unless otherwise indicated, this complaint cites the 2019 version of the NEPA regulations,
which govern analysis of the 2019 EIS and the Idaho 2020 EA. The remaining EAs tier to the
EIS and reference the NEPA regulations as they existed in 2019. Thus, they, too, are analyzed
under the 2019 regulations.

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like an EA, to a broader NEPA analysis by “incorporating by reference the general discussions
and concentrating solely on the issues specific to the statement subsequently prepared.” Id.
§ 1508.28.
       35.     To satisfy NEPA, an EIS must include a purpose and need statement that “briefly
specif[ies] the underlying purpose and need to which the agency is responding in proposing the
alternatives including the proposed action.” Id. § 1502.13. An agency must also “[r]igorously
explore and objectively evaluate all reasonable alternatives,” “[d]evote substantial treatment to
each alternative considered in detail including the proposed action,” and “[i]nclude reasonable
alternatives not within the jurisdiction of the lead agency.” Id. § 1502.14(a)–(c).
       36.     Both EISs and EAs must discuss a proposed action’s direct, indirect, and
cumulative impacts. 40 C.F.R. § 1502.16. Direct impacts are caused by the action and occur at

the same time and place as the proposed project. Id. § 1508.8(a). Indirect impacts are caused by
the action and are later in time or farther removed in distance, but are still reasonably
foreseeable. Id. § 1508.8(b). Both types of impacts include “effects on natural resources and on
the components, structures, and functioning of affected ecosystems.” Id. § 1508.8. A cumulative
impact is the “impact on the environment which results from the incremental impact of the action
when added to other past, present, and reasonably foreseeable future actions regardless of what
agency (Federal or non-Federal) or person undertakes such other actions.” Id. § 1508.7.
       37.     Generally, information used to inform NEPA analyses “must be of a high

quality,” and “[a]ccurate scientific analysis . . . [is] essential to implementing NEPA.” Id.
§ 1500.1(b). The agency’s analysis must be based on professional and scientific integrity. Id.
§ 1502.24. The agency must also “discuss . . . any responsible opposing view which was not
adequately discussed in the draft statement and shall indicate the agency’s response to the issues
raised.” Id. § 1502.9(b).
       38.     Additionally, the “hard look” requirement demands that agencies assess and
discuss the environmental “baseline” in the area of a proposed action. ONDA v. Jewell, 840 F.3d
562, 568–71 (9th Cir. 2016). An agency must also include in any NEPA document a sufficiently


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detailed discussion of mitigation measures “to ensure that environmental consequences have
been fairly evaluated.” Robertson v. Methow Valley Citizens Council, 490 U.S. 332, 350–52
(1989). To fulfill NEPA’s hard look and public disclosure and participation requirements, an
agency must also evaluate in detail a project’s potential site-specific impacts.
        The Endangered Species Act
        39.     The Endangered Species Act was enacted to “provide a means whereby the
ecosystems upon which endangered species and threatened species depend may be conserved
[and] to provide a program for the conservation of such . . . species.” 16 U.S.C. § 1532(b).
        40.     Under section 7(a)(2) of the ESA, each federal agency must “insure that any
action authorized, funded or carried out by such agency . . . is not likely to jeopardize the
continued existence of any endangered or threatened species or result in the destruction or

adverse modification of [designated critical] habitat.” 16 U.S.C. § 1536(a)(2).
        41.     To ensure that agencies meet the substantive requirements of the ESA, section
7(a)(2) also imposes an important procedural requirement: if an agency’s proposed action “may
affect” a listed species or its critical habitat, the action agency must first consult with the
National Marine Fisheries Service (“NMFS”) or FWS. Id.; 50 C.F.R. § 402.14(a). NMFS is
responsible for marine and anadromous species (fish that are born in freshwater, spend most of
their lives in saltwater, and return to freshwater to spawn), and FWS is responsible for land and
freshwater species.

        42.     During the consultation process, the action agency typically prepares a biological
assessment (“BA”) to evaluate the potential “effects of the action” on listed species and critical
habitat and determine whether any species or its habitat is likely to be adversely affected by the
action. 50 C.F.R. § 402.12.
        43.     Consultation concludes when NMFS or FWS either (1) issues a written
concurrence with the action agency’s determination that the proposed action “is not likely to
adversely affect [any] listed species or critical habitat,” id. § 402.13; or else (2) issues a
“biological opinion” (“BiOp”), id. § 402.14.


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       44.     Once a biological opinion or letter of concurrence has been issued, the action
agency may proceed with the action. However, the action agency and the relevant consulting
agency—NMFS or FWS—must reinitiate section 7(a)(2) consultation under certain
circumstances, including when “the identified action is subsequently modified in a manner that
causes an effect to [any] listed species or critical habitat that was not considered in the biological
opinion or written concurrence.” Id. § 402.16(a)(3). The agencies must also reinitiate
consultation “[i]f a new species is listed or critical habitat designated that may be affected by the
identified action.” Id. § 402.16(a)(4).
                                  FACTUAL BACKGROUND
       Western Rangelands Contain Precious Biodiversity and Natural Resources
       45.     Under APHIS’s rangeland pesticides program, pesticides are applied to huge

swaths of lands containing unique terrain with tremendous biological diversity. These lands are
home to many species, including federally-listed threatened and endangered species such as the
yellow-billed cuckoo, black-footed ferret, bull trout, Wyoming toad, Ute ladies’-tresses, and
Snake River physa snail; special status species such as the greater sage-grouse; and thousands of
species of important native pollinators such as the monarch butterfly, yellow bumble bee, and
western bumble bee. These lands are also home to an immense variety of other organisms that
are important to the healthy functioning of range ecosystems.
       46.     Western rangelands also contain many of the United States’ most popular

recreation destinations, including areas known for hiking, bird-watching, camping, fishing, and
biking. For large numbers of people—many of whom travel from great distances—these lands
serve as a respite from urban or suburban life and a significant source of aesthetic, spiritual, and
emotional fulfillment. For instance, in Oregon, the Steens Mountain Cooperative Management
and Protection Area, which contains a section of the iconic Oregon Desert Trail and is a
biodiversity hotspot, is a popular destination for hiking, birdwatching, and other recreation. In
Montana, War Horse National Wildlife Refuge provides important habitat for migratory birds
and serves as a popular destination for fishing, hiking, and wildlife viewing. In Idaho, within an


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hour’s drive of Boise, the Owyhee Front offers numerous off-highway vehicle trails as well as
many opportunities for hiking, swimming, cycling, horseback riding, and kayaking. And in
Wyoming, the Middle Fork of the Powder River draws many visitors to its campgrounds, trails,
and historic sites, like the Hole-in-the-Wall trail and historic site.
        Pesticides Pose Serious Risks to Western Rangeland Ecosystems
        47.     Pesticides are toxic substances intended to kill organisms that are considered to be
pests. Each year, roughly one billion pounds of pesticides are applied in the United States across
many industries. Pesticides can have devastating impacts on non-target species, human health,
and ecosystems as a whole.
        48.     Insecticides are a class of pesticides that specifically target insects. They can act
to kill insects in different ways, such as by disrupting the nervous system, inhibiting growth and

development of the exoskeleton (chitin formation), and obstructing protein function. They can be
applied as sprays or baits and by ground or aerial application. Like pesticides generally, many
insecticides are broad-spectrum and thus necessarily have impacts beyond the target species,
including to natural arthropod predators, native pollinators, and other beneficial species.
        49.     The widespread use of pesticides is contributing to the ongoing decline of insect
abundance, diversity, and biomass, which can negatively affect pollination, food systems for
birds and fish, and other important functions. Biodiversity is declining globally faster than at any
other time in human history, and pollinators and other beneficial invertebrates are disappearing at

alarming rates. A 2021 paper in the Proceedings of the National Academy of Sciences reported
that, where studied, insect abundance is declining on average 1% to 2% per year. There is also
evidence that insects are declining in Western rangelands specifically: a recent study published
in the journal Science found a 1.6% annual reduction in the number of individual butterflies
observed over the past four decades. Insects make up over 90% of animal biodiversity and
perform vital ecosystem services––they pollinate crops and wildflowers; recycle dung, leaves,
and corpses; help regulate soil health; control pests; and much more. Insects also serve as
important food sources for birds, fish, frogs, and other species. They are a critical, albeit often


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overlooked, part of a functioning planet and society. The loss of insects has severe negative
impacts on ecosystems.
       50.     Pesticides can also cause adverse impacts to humans who come into contact with
them, such as people who may be recreating in an area at the time pesticides are applied or
shortly thereafter. Pesticides can cause short-term human health effects––such as nausea,
respiratory problems, and skin irritation––as well as chronic and severe long-term effects––such
as cancer, tumors, reproductive problems, brain and nervous system damage, and cardiovascular
disease. For some pesticides, like DDT and neonicotinoids, their true impact has only been
revealed after decades of use and harm to non-target species and humans.
       51.     Integrated pest management (“IPM”) is a more sustainable and less harmful
solution to addressing pests. IPM was developed in response to the overuse of toxic pesticides

and their associated environmental harms and is an ecologically-based strategy to managing
pests designed to minimize reliance on pesticides. IPM relies on prevention, avoidance,
monitoring, and suppression techniques in order to decrease pest pressure using a combination of
biological, cultural, and chemical controls. It is the standard framework used by many agencies
and land managers to control pests.
       52.     By authorizing the use of pesticides across millions of acres of public rangelands
rather than employing a robust IPM approach, APHIS stands to worsen the plight of pollinators,
insects, and native ecosystems as a whole.

       Overview of the Rangeland Pesticides Program
       53.     In recent years, APHIS has authorized and funded the application of toxic
pesticides to millions of acres of public and private lands across the West, primarily for the
benefit of rangeland vegetation used for livestock grazing as well as adjacent agricultural crops.
In doing so, APHIS has relied on false assumptions and faulty economic analyses, and has not
properly analyzed site-specific environmental impacts, cumulative impacts, and impacts to
imperiled species. APHIS has also carried out its program without sufficient transparency,




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neglecting to disclose to the public the locations of past pesticide treatments and the probable
locations of future treatments—even though it could easily do so.
       54.     The total amount of acres treated under the rangeland pesticides program varies
widely from year to year, but in some years, millions of acres of public and private lands are
treated. In 2021, for instance, APHIS authorized and funded the application of pesticides to
“protect” 1.3 million acres in Montana alone.
       55.     Pesticide treatments under the program typically occur during the late spring and
summer, as early as May and as late as September.
       56.     To predict where grasshopper outbreaks may occur in a given year, APHIS
conducts surveys. APHIS first creates a “hazard map” near the end of each calendar year based
on surveys of adult grasshoppers. The hazard map shows where adult density populations were

highest during the preceding year; this is then used to forecast the locations where outbreaks are
likely to occur the following year.
       57.     APHIS begins receiving requests for treatments from land managers early in each
calendar year, before spring nymphal surveys have been conducted. The locations for which
treatments have been requested are not disclosed to the public by APHIS.
       58.     Before the treatment season, in either late winter or early spring, APHIS prepares
a set of draft environmental assessments for those states where treatments may occur. Draft EAs
may cover a single spraying season, like in Montana, or multiple spraying seasons, like in

Oregon, Idaho, and Wyoming. For some states, like Oregon, Idaho, and Wyoming, there is one
EA that covers the entire state. In other states, like Montana, APHIS prepares several EAs, each
of which covers part of the state. These EAs tier to the EIS, incorporating much of its analysis by
reference. After the Draft EAs are released for public comment for 30 days, Final EAs and
findings of no significant impacts (“FONSIs”) are issued before any treatments occur.
       59.     APHIS then conducts surveys of grasshopper nymphs—young, immature
grasshoppers—in the spring. Detection surveys are first conducted to determine which areas are




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most likely to be considered for treatment. Delimiting surveys are then conducted to determine
precise areas of treatment.
       60.        Before treating a grasshopper outbreak, APHIS must receive a request from a land
owner or manager, such as a federal land management agency or a state agriculture department
(on behalf of a state or local government, or private group or individual). After receiving a
treatment request, APHIS must then determine whether the outbreak rises to the level of
economic infestation, thus permitting treatment under the rangeland pesticides program’s
authorizing statute. See 7 U.S.C. § 7717(c).
       61.        Most of the time, if not all of the time, APHIS uses contractors to actually
conduct pesticide treatments. APHIS first issues a Statement of Work each spring outlining the
general contours of treatment operations, such as technical specifications that contractors must

meet, buffer zone requirements, and procedures to be followed before, during, and after pesticide
application. Then, when APHIS decides that a particular area should be treated, the agency puts
out a “request for quote” with details about that treatment. The typical time between the issuance
of a request for quote and actual treatment is very short—a matter of a week or so.
       62.        APHIS does not notify the general public about impending pesticide treatments.
APHIS claims to give 48-hour notice to registered beekeepers located in treatment areas, but not
every state has a beekeeper registry, and, even in states with such a registry, not all beekeepers
are registered.

       63.        Following treatment, APHIS is supposed to survey treated sites to determine
whether treatment was effective. APHIS is also supposed to conduct environmental monitoring
in treated areas to ensure that treatments have been carried out in accordance with applicable
requirements and that any adverse environmental effects were anticipated and properly
considered during the NEPA process.




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         The 2019 Programmatic Environmental Impact Statement
         Prior Environmental Impact Statements
         64.    In 1987, APHIS prepared a programmatic environmental impact statement for its
rangeland pesticides program. In that 1987 EIS, APHIS chose as its preferred alternative an IPM
alternative. 52 Fed. Reg. 12,950, 12,950 (Apr. 20, 1987). The IPM alternative in the 1987 EIS
included the use of pesticides as one possible component, but it also included the use of
biological controls, investigation and development of new non-chemical methods of control, and
cultural and mechanical controls. APHIS described “[t]he primary aims of the IPM alternative”
as “develop[ing] means by which outbreaks could be predicted and prevented and . . .
develop[ing] alternative methods of grasshopper control (for both prevention and suppression)
that reduce the use of chemical pesticides.”4

         65.    In 2002, a new EIS “revised” the 1987 EIS. The 2002 EIS narrowed the scope of
the program analyzed under NEPA: rather than consider an IPM alternative, APHIS focused on
the application of pesticides in response to treatment requests from land managers. According to
the 2002 EIS, “implementing [IPM] strategies is not within the purview of APHIS. Rather, these
strategies are best implemented and normally studied in the context of rangeland management
programs by the respective land managers of Federal, State, private lands.”
         66.    APHIS’s shift away from an IPM approach in the 2002 EIS was criticized by,
among others, the Environmental Protection Agency (“EPA”). EPA urged APHIS to “consider[]

other alternatives that incorporate other control methods or the use of” IPM.
         67.    In 2019, APHIS released a new EIS to re-authorize the rangeland pesticides
program and include in the program: (1) the addition of chlorantraniliprole as a possible new
chemical insecticide treatment and (2) an “adaptive management” scheme.




4
    1987 EIS for the Rangeland Grasshopper Cooperative Management Program at 2-16.

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       Alternatives Considered in the 2019 EIS
       68.     Like the 2002 EIS, the 2019 EIS focuses on the use of pesticides in response to
treatment requests. As APHIS itself put it in responding to criticisms that the EIS is too narrowly
focused, “[t]he scope of the document is on the actions APHIS may consider after making a
determination whether treatments are warranted.”
       69.     The 2019 EIS examines three alternatives:
               a. A “no action” alternative in which the program would continue to be
                   implemented as it has been since 2002.
               b. A “no suppression” alternative in which “APHIS would not fund or
                   participate in any program to suppress grasshopper outbreaks.”
               c. The preferred alternative, which would involve “[i]nsecticide applications at

                   conventional rates or reduced agent area treatments [(“RAATs”)] with [an]
                   adaptive management strategy.” “APHIS would apply one insecticide to a
                   treatment area at the . . . conventional rate used for grasshopper suppression
                   treatments, or apply as RAATs. The RAATs strategy uses a reduced rate of
                   insecticide from conventional levels by alternating treatment swaths in a spray
                   block, reduced application rates, or both. . . . An adaptive approach of either
                   conventional rates or RAATs will allow the Program to make site-specific
                   suppression applications using a range of application rates to ensure adequate

                   suppression.”
       70.     In preparing the 2019 EIS, APHIS refused to consider a broader range of
alternatives—including a more holistic IPM or IPM-like alternative—despite the authorizing
statute’s focus on preventive measures, see 7 U.S.C. § 7717; despite a separate statutory mandate
to “use IPM techniques in carrying out pest management activities,” 7 U.S.C. § 136r–1; despite
APHIS’s adoption of such an alternative in the 1987 EIS; and despite requests from Plaintiffs
and others to do so. APHIS also did not give full consideration to the use of biological controls




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such as mycoinsecticides (fungi that harm grasshoppers) and microsporidia (unicellular parasites
that harm grasshoppers).
        The Preferred Alternative
        71.     In a Record of Decision (“ROD”) signed in December 2019, APHIS selected the
preferred alternative from the 2019 EIS, approving the conventional or RAATs application of
four insecticides for purposes of grasshopper suppression: malathion, carbaryl, diflubenzuron,
and chlorantraniliprole. The ROD also authorizes the use of new pesticides if approved by EPA,
provided such pesticides “pose[] no greater risk[]” than the pesticides analyzed in the EIS.
        72.     APHIS determines which pesticide to apply based on the “identification of
specific pests and their life stage.”
        73.     Dimilin is the trade name for diflubenzuron. Dimilin acts as an insect growth

inhibitor by arresting chitin synthesis, i.e., the formation of an insect’s shell. As such, Dimilin is
effective at the larval stage of an insect’s development. Dimilin can also kill insect eggs.
        74.     Dimilin applied to foliage tends to remain adsorbed to leaf surfaces for several
weeks, with little or no absorption or translocation from plant surfaces. This persistence on
leaves may result in exposure and toxic effects to non-target species as late as the fall when
plants drop their leaves.
        75.     Diflubenzuron is associated with some human health impacts: it is a mild eye
irritant, and it also damages mammalian hemoglobin, affecting the transport of oxygen.

Diflubenzuron causes the formation of methemoglobin, a form of hemoglobin that is not able to
transport oxygen.
        76.     Carbaryl is a carbamate insecticide. It inhibits the action of an enzyme acetyl
cholinesterase (“AChE”) that is an essential component of insect, bird, fish, and mammal
nervous systems. By inhibiting the function of AChE, carbaryl causes loss of normal muscle
control and, ultimately, death. Carbaryl has been associated with a large number of human health
problems, including suppression of immune system functions, genetic damage, reproductive




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problems, and cancer. EPA recently determined that use of carbaryl in the United States is likely
to adversely affect 1,640 different species listed under the ESA—some 91% of all listed species.
       77.     Malathion is an organophosphate insecticide. It is in a class of pesticides that is
chemically related to nerve gases used in World War II. Like carbaryl, malathion attacks the
nervous system by inhibiting AChE. Malathion can also inhibit liver enzymes that effect
biological membrane function. Malathion has also been associated with numerous human health
problems, including cancer, genetic defects, birth defects, reproductive problems, immune
system suppression, and vision impairment. EPA recently determined that use of malathion in
the United States is likely to adversely affect 1,778 different species listed under the ESA—some
97% of all listed species.
       78.     Chlorantraniliprole is part of a newer class of insecticides. It is a paralytic

insecticide that can shut down muscle control of insects and is most effective when ingested via
treated plant material. It is labeled for commercial use to control grasshoppers, various moths,
beetles, and caterpillars. It has a long half-life of more than 500 days, is highly soluble, and is
readily transported in water. Because it is a newer insecticide, there are few field studies of its
effects that are applicable to rangeland ecosystems, and limited studies have been conducted
assessing its effects to mammals and humans.
       The EIS’s Discussion of Past Treatments and Monitoring Results
       79.     The 2019 EIS lacks any detailed information about past pesticide treatments

under the rangeland pesticides program. Although it contains information about the total number
of acres treated in past years across the 17 states covered by the EIS, there is no information
about where those treatments occurred or whether the treatments involved aerial or ground
applications of pesticides.
       80.     The EIS also contains little or no information about the findings of past
environmental monitoring efforts at treatment sites. APHIS is supposed to conduct
environmental monitoring at treatment sites to ensure that treatments have been carried out in
accordance with applicable requirements and that any adverse environmental effects were


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anticipated and properly considered in the NEPA process. In fact, each year, APHIS prepares an
Environmental Monitoring Plan that sets forth guidelines for conducting such monitoring.
Despite this, there is little or no discussion in the EIS of whether monitoring has occurred and, if
it has, the results of that monitoring.
        Discussion of Mitigation Measures
        81.     The EIS’s discussion and analysis of mitigation measures fails to consider
scientific evidence that contradicts the claimed efficacy of the proposed measures and ignores
factors relevant for assessing the adverse impacts of pesticides to aquatic resources, non-target
species, members of the public, and rangeland ecosystems as a whole.
        82.     The EIS largely relies on compliance with pesticide labels, RAATs, and
application buffers to mitigate the impacts of pesticide applications on non-target species and the

environment. But the EIS does not grapple in any meaningful way with how effective these
measures will be. And under the preferred alternative, APHIS has complete discretion to
determine whether to use RAATs or the conventional method. APHIS does not even address
mitigation for when conventional methods are used.
        83.     As to compliance with pesticide labels, the EIS repeatedly asserts that pesticide
applicators will comply with label requirements. But there is little discussion of what those
requirements are, how effective they are likely to be in preventing environmental harm, or what
harm is likely to occur even if labels are followed. Moreover, it is unclear from the EIS what

steps APHIS will take to ensure that contractors comply with label requirements.
        84.     As for buffers, the EIS discusses APHIS’s use of various buffer zones—swaths of
land that are left untreated—to protect different resources. For water bodies that are not
designated critical habitat under the ESA, the EIS states that APHIS maintains 500-foot buffers
for aerial sprays, 200-foot buffers for ground sprays, and 50-foot buffers for bait applications.
For aerial pesticide applications in federally listed salmonid habitat, APHIS applies a 3,500-foot
buffer for carbaryl and malathion and a 1,500-foot buffer for diflubenzuron. For other federally
listed threatened or endangered species, “APHIS [has] proposed a chemical-specific application


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buffer[] from listed species and their critical habitats.” The EIS does not specify what those
buffers are.
       85.     In general, the EIS fails to provide scientific support for the buffers and their
effectiveness at protecting aquatic species, or to acknowledge existing science on pesticide drift
that undermines the assumed efficacy of the buffers.
       86.     For instance, APHIS has received complaints from private residential
homeowners who observed impacts of aerial pesticide spraying associated with APHIS’s
rangeland pesticides program within their property lines despite adherence to a 1,000-foot buffer
from the edge of their property. Samples taken inside the private property after such complaints
detected pesticides within the property lines. This suggests that APHIS’s assumptions about drift
that underlie its application buffers and other mitigation measures are incorrect, and that those

buffers are inadequate to prevent pesticides from reaching non-target areas and organisms.
       87.     Furthermore, an accurate analysis of drift potential requires consideration of
droplet size, wind speed, and release height. Neither the diflubenzuron and carbaryl labels nor
the EIS require a minimum droplet size or maximal release height for aerial applications.
       88.     As for the RAATs method, the EIS overstates the efficacy of that method as a
means of reducing adverse impacts of spraying on non-target species and the environment. When
the reduced treatment area method of RAATs is used, the amount of land that must go untreated
is highly variable and unlikely to be sufficiently protective. For instance, the EIS states that

“[f]or aerial applications, the skipped swath width is typically no more than 20 feet for
malathion, 100 feet for carbaryl, and 200 feet for diflubenzuron.” As discussed above, drift from
aerial spraying––which has been documented to go beyond even 1,000-foot buffers––may lead to
substantial quantities of insecticides making it to “untreated” swaths, thus rendering the skipped
swath method of RAATs ineffective at substantially lowering the risk to non-target species.
       89.     Other aspects of APHIS’s mitigation analysis in the EIS are also problematic. For
instance, the EIS discusses “notifying beekeepers within 1 mile of treatment areas at least 48
hours before product is applied” to give beekeepers a chance to take measures to prevent harm to


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their hives. In response to comments, though, APHIS admitted that it will not be able to locate all
hives in the treatment area in many, if not most, instances, and that some beekeepers may not be
able to take effective preventive measures in time even with 48 hours of notice. And though the
EIS states that APHIS will abide by pesticide label requirements that mandate buffers around
honey bee hives, such buffers cannot possibly be effective in those instances where APHIS does
not even know where the hives are. Further, this mitigation measure is only relevant to honey
bees; there is no similar mitigation for native bees, and it is unclear how APHIS could effectively
buffer for native bees.
       Discussion of Impacts to Non-Target Species, Humans, and the Environment
       90.     The EIS’s impacts analysis understates the risks the pesticides used in the
program pose to non-target species. The four broad-spectrum pesticides used in the program––

carbaryl, diflubenzuron, malathion, and chlorantraniliprole––all negatively affect bees,
butterflies, moths, ants, and other invertebrates to some degree. The risk analysis
mischaracterizes or minimizes studies that demonstrate risk to non-target species, while
overemphasizing studies that found little risk. The EIS also fails to consider impacts from a
holistic, ecosystem-wide perspective.
       91.     The most obvious impact of the rangeland pesticides program is the killing of
grasshoppers—billions of grasshoppers in some years. Grasshoppers play an important role in
nutrient cycling and serve as an important food source for wildlife, including reptiles, small

mammals, fish, and birds, particularly the imperiled greater sage-grouse. While grasshopper
population numbers can rise to a level where they cause short-term damage to cropland and
privately owned livestock that graze on rangelands, grasshoppers are a natural part of range
ecosystems, and boom years for grasshopper populations can have long-term benefits for these
ecosystems. As one Idaho Bureau of Land Management (“BLM”) biologist put it, large
outbreaks “play an important ecological role.” The EIS does not take into account the long-term
impact of repeatedly killing large numbers of grasshoppers across Western rangelands.




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       92.      Applying pesticides to millions of acres of rangelands also harms species other
than grasshoppers. The chemicals used in the program can kill various butterflies, moths, beetles,
and termites, and they are toxic to bumble bees. And the Idaho branch of FWS has expressed
concerns about the adverse effects application of pesticides to control grasshoppers will have on
non-target aquatic species, specifically mentioning that “extensive areas of wetlands . . . might be
difficult to exclude from an aerial spraying program” and that “the effects of malathion and
carbaryl on many aquatic organisms is known to be harmful.”
       93.      Further, studies show that applications of diflubenzuron, even at reduced rates,
can cause severe impacts to bee reproduction. The EIS and the accompanying risk assessment for
diflubenzuron underestimate the risk to native bees by, among other things, relying heavily on
honey bee studies. Native bees and honey bees have distinct life histories that make the impacts

to native bees even more troubling. For instance, native bees have inherently low fecundity and
thus would recover more slowly from pesticide-induced declines; unlike honey bees, native bee
queens forage; native bee larvae eat raw pollen; and native bees have smaller nests and social
organization. This oversight is concerning given that the states subject to grasshopper
suppression efforts are home to many native bee species that are already in decline.
       94.      Diflubenzuron is also highly toxic to various moth and butterfly species when
applied at rates similar to what is expected to be used by APHIS. Diflubenzuron applied to plants
remains adsorbed to leaf surfaces for several weeks and many insect larvae, including

caterpillars, eat leaf tissue. Thus, diflubenzuron applied to kill grasshoppers could affect other
species, like monarch butterflies, for weeks after an application. This is especially troubling
given the presence of monarch breeding areas in rangelands where grasshopper treatments are
administered.
       95.      The pesticides applied to control grasshoppers also impact insects that act as
natural predators and parasitoids of grasshoppers. In other words, these pesticides reduce the
very organisms that help regulate grasshopper populations naturally. This effect was not




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analyzed sufficiently in the EIS and important field studies addressing this issue were
mischaracterized.
       96.     The rangeland pesticides program also poses a special threat to the food supply of
certain birds (many of which naturally regulate grasshopper populations)––perhaps most
significantly, the greater sage-grouse. The health of this bird is an indicator of the health of every
other species in the same ecosystem, including pygmy rabbits, falcons, mule deer, pronghorn elk,
and redband trout, and over 180 migratory and resident bird species. Once numbering in the
millions, sage-grouse populations have declined by over 90% and the sage-grouse is now an
imperiled species. Remaining sage-grouse populations live in the very rangeland areas most
likely to be subject to APHIS’s pesticide treatments.
       97.     Sage-grouse chicks rely on grasshoppers, beetles, and other invertebrates as a

source of food. By killing off this food supply, grasshopper pesticide treatments can force sage-
grouse chicks to seek alternative food sources at a precarious time in their young lives. At least
one study has found the reduction of insects as a result of rangeland grasshopper control can
reduce brood sizes in sage-grouse populations. This study is not mentioned in the EIS. Instead,
the EIS suggests, without any citation to scientific authority, that grasshoppers could actually
compete with sage-grouse for resources during outbreaks, justifying treatments.
       98.     The disruptions associated with pesticide treatments can also negatively affect
sage-grouse, which are notoriously skittish and prone to abandoning disturbed areas. According

to BLM, “[t]reatment application methods (air and ground) as well as application timing could
potentially disturb Sage-Grouse, particularly during early brood rearing.” Sage-grouse are highly
sensitive to habitat conditions and require large, intact habitat to complete their annual life
history. Disturbances, like human-administered pesticide treatments, can result in behavioral
avoidance, causing sage-grouse to avoid otherwise suitable habitat, or behavioral changes in the
birds. This in turn can result in loss of habitat quantity and quality, habitat fragmentation,
reduced habitat connectivity, and altered seasonal movements and habitat use. The EIS does not
discuss any of these probable effects of APHIS’s rangeland pesticides program.


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       99.     The EIS also entirely fails to analyze the impacts pesticide spraying would have
on sensitive areas such as wilderness areas, wilderness study areas, areas of critical
environmental concern, and wildlife refuges. For instance, pesticide treatments have occurred
and/or will likely occur within or around various sensitive areas in Oregon, including the Steens
Mountain Cooperative Management and Protection Area, the Pueblo Mountains Wilderness
Study Area, and the Malheur National Wildlife Refuge. Pesticide treatments have occurred and
will likely reoccur within and near sensitive areas in other states, too––in Idaho, the Morley
Nelson Snake River Birds of Prey National Conservation Area; in Montana, the War Horse
National Wildlife Refuge; and in Wyoming, the Gardner Mountain Wilderness Study Area.
       Discussion of Cumulative Impacts
       100.    The EIS’s cumulative effects discussion focuses largely on the possible

cumulative effects of multiple treatments undertaken pursuant to the rangeland pesticides
program, with little analysis of how the program interacts with other pesticide applications
conducted by APHIS, other federal agencies, states, and private actors. For example, many of the
rangeland ecosystems likely to be treated under the program are adjacent to croplands that are
heavily treated with pesticides. Although the EIS acknowledges that “[o]ther entities, such as
private landowners, may make [pesticide] applications,” it does not analyze the potential impacts
of such applications when considered in combination with the rangeland pesticides program, for
the irrelevant reason that “those treatments would not be funded by APHIS.”

       101.    Indeed, the EIS contains no quantitative information about pesticide applications
conducted by others, despite the fact that many such operations occur near areas treated under
the rangeland pesticides program and involve pesticides that affect the same species. For
example, the Idaho State Department of Agriculture distributes tens of thousands of pounds of
carbaryl bait to farmers each year to combat grasshopper outbreaks on croplands, but the EIS
does not include this information or analyze its significance.
       102.    Furthermore, cattle and other livestock that graze on rangelands are often treated
prophylactically with powerful pesticides to prevent lice, mites, ticks, and other parasites. As


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cattle graze, these pesticides are washed off their bodies or excreted through waste,
contaminating surrounding land and water. The EIS does not mention this at all, let alone attempt
to quantify the amount of pesticide released by such activities or analyze how these activities
might combine with APHIS’s rangeland pesticides program.
       103.    The cumulative impacts analysis does contain one paragraph that mentions all of
the other APHIS programs that involve application of pesticides, but the discussion is lacking
any quantitative information or meaningful analysis. Rather, the EIS dismisses these other
application programs because of the supposed difficulty in “[e]stimating the potential for
overlap” between the rangeland pesticides program and other APHIS programs despite the fact
that APHIS is responsible for administering all these programs. APHIS punts any further
analysis of such cumulative impacts of its programs to later EAs.

       104.    Even in its discussion of the impacts flowing from multiple treatments under the
rangeland pesticides program, the EIS does not contain a full and accurate analysis of cumulative
effects. For one thing, the EIS does not discuss or even acknowledge how the combination of
multiple treatments throughout the West might affect species whose range extends across the
region and multiple potential treatment areas, such as the greater sage-grouse, yellow-billed
cuckoo, monarch butterfly, Ute ladies’-tresses, and various species of bumble bee.
       105.    In addition, the EIS’s statement that the “same area” is unlikely to be treated
under the rangeland pesticides program twice in the same year or multiple years in a row is

misleading and understates the possible cumulative effects flowing from multiple grasshopper
treatments. Treatment records5 show that there are certain areas that have been treated repeatedly
in recent years, though the precise treatment locations have varied from year to year. These areas
include the area east of Steens Mountain in Oregon; the Owyhee Front in Idaho; the western part
of Petroleum County, including part of the War Horse National Wildlife Refuge, in Montana;


5
 Critically, Plaintiffs were only able to obtain this information—and then only partially—via
Freedom of Information Act requests. APHIS does not include this information in the EIS, see
supra ¶ 79, or in the “site-specific” EAs, see infra.

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and part of the western edge of the Powder River Basin in Wyoming, south of the Bighorn
National Forest. All of these areas contain popular recreation sites as well as habitat for federally
listed species, other imperiled species, and/or important pollinators.
       106.    The EIS’s cumulative effects discussion invokes some of the mitigation measures
mentioned throughout the EIS, including adherence to label requirements and RAATs. But, as
explained above, the EIS’s analyses of the effectiveness of these mitigation measures is either
nonexistent or ignores important facts (e.g., substantial drift of pesticides into “untreated”
swaths).
       107.    Overall, the EIS’s discussion of cumulative impacts relies on generalizations and
neglects to do the work of actually determining the possible additive or synergistic effects of the
rangeland pesticides program combined with other pesticide applications throughout the West.

       Discussion of Threshold for Providing Treatment
       108.    The statute authorizing APHIS’s rangeland pesticides program allows the agency
to treat only those outbreaks that rise to the level of “economic infestation[s].” 7 U.S.C.
§ 7717(c)(1). And, even if a particular infestation is “economic,” APHIS need not immediately
treat the infestation if it “determines that delaying treatment will not cause greater economic
damage to adjacent owners of rangeland.” Id.
       109.    The EIS describes “economic infestation” as follows:

       The “level of economic infestation” is a measurement of the economic losses
       caused by a particular population level of grasshoppers to the infested rangeland.
       This value is determined on a case-by-case basis with knowledge of many factors
       including, but not limited to, the following: economic use of available forage or
       crops; grasshopper species, age, and density present; rangeland productivity and
       composition; accessibility and cost of alternative forage; and weather patterns. In
       decision-making, the level of economic infestation is balanced against the cost of
       treating to determine an “economic threshold” below which there would not be an
       overall economic benefit for the treatment. Short-term economic benefits accrue
       during the years of treatments, but additional long-term benefit may accrue and be
       considered in deciding the total value gained by a treatment.

       110.    Aside from this description, the EIS does not detail how the threshold for
treatment is determined. There is no explanation of how APHIS applies or weighs the listed



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factors, nor are there any examples of how APHIS has applied these factors in the past to
determine whether to treat an infestation.
       111.    The discussion in the EIS suggests that, in evaluating whether an outbreak
constitutes an economic infestation, APHIS does not adequately weigh the short-term benefits of
grasshopper control against the long-term costs of applying insecticides to native rangeland
ecosystems.
       112.    For instance, the EIS discusses the soil damage that may result from a
grasshopper outbreak and notes that such damage can result in other disruptions to ecological
processes that are important to rangeland ecosystems. However, this assertion is based off a
single study examining a grasshopper outbreak in a non-rangeland ecosystem in Hawaii. And
according to one BLM biologist, “[c]rickets clearly can have big impacts on private lands . . . but

. . . there is little evidence that they negatively impact vegetation over the long-term. They are
episodic, locally impactful, a natural important component of the landscape, and also a high
protein food source for sage-grouse and several other animals.” The EIS cites no studies
examining the length of time that grasshopper damage lasts, suggesting that APHIS is concerned
chiefly with short-term damage.
       113.    The EIS does not grapple with the fact that regularly using pesticides to treat
grasshopper outbreaks may very well cause future outbreaks to be more severe and/or frequent.
Prior to the use of pesticides to suppress grasshoppers, grasshopper outbreaks were regulated by

natural processes, including by natural predators, diseases, and competition. Because pesticide
use could also harm populations of natural predators and otherwise disrupt these natural
ecosystem cycles, APHIS’s grasshopper program may have a counterproductive impact in the
long term. This must be factored in to any assessment of whether an infestation is “economic,”
and yet the EIS does not explain how APHIS will address this issue when deciding whether to
treat an outbreak.
       114.    The EIS also does not explain how APHIS will determine whether “delaying
treatment will not cause greater economic damage to adjacent owners of rangeland.” This is a


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vital part of the rangeland pesticides program’s authorizing statute: it dictates whether APHIS
must treat an infestation immediately or can instead wait to treat.
       The Record of Decision for the 2019 EIS
       115.    The record of decision (“ROD”) for the 2019 EIS memorializes APHIS’s decision
to adopt the preferred alternative from the EIS to re-authorize the rangelands pesticides program.
The ROD states that, in addition to the activities analyzed in the EIS (i.e., pesticide treatments),
APHIS “conducts survey activities and provides technical assistance” and has prepared a
handbook to help land managers use IPM. The ROD states that APHIS “promotes the use of
IPM.” But the ROD does not explain why APHIS cannot play a larger role in implementing
prevention measures and other IPM components, particularly in light of Congress’s command to
APHIS to “prevent[], suppress[], and control . . . actual or potential grasshopper and Mormon

cricket outbreaks” threatening federal rangelands, 7 U.S.C. § 7717(b)(1), and Congress’s
command that all “[f]ederal agencies shall use [IPM] techniques in carrying out pest
management activities,” 7 U.S.C. § 136r–1.
       116.    The ROD admits that, as of late 2019, APHIS and FWS had not completed
programmatic consultation over the rangeland pesticides program, even though APHIS had
submitted a biological assessment to FWS in 2015.
       The Environmental Assessments for Oregon, Idaho, Montana, and Wyoming
       APHIS’s “Site-Specific” Environmental Assessments Generally

       117.    The 2019 EIS analyzes the environmental effects of the rangeland pesticides
program at the programmatic level, leaving the analysis of site-specific effects for later. The
state-level EAs purport to be those “site-specific” analyses. Draft EAs are prepared in late winter
or early spring for any states where treatments may occur and may cover a single spraying
season, like in Montana, or multiple spraying seasons, like in Oregon, Idaho, and Wyoming.
Draft EAs are released for 30 days for public comment. Then, a Final EA is completed and a
FONSI is issued that authorizes the pesticide program for that state for the covered years. These
EAs are completed before APHIS decides what treatments will occur will each year.


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       118.    For individual treatment operations conducted during a given year, APHIS
assesses whether those operations are adequately analyzed by the state-level EAs and supposedly
issues “supplemental determinations” or similar findings of consistency before treatment.
Although APHIS’s 2008 Grasshopper Guidebook states that the public will have an opportunity
to comment when APHIS issues “supplemental determinations” for individual treatment actions,
there are no additional opportunities for public comment after the 30-day comment period on the
Draft EAs.
       Oregon’s 2022 Environmental Assessment
               Site-Specificity of the EA
       119.    Oregon’s 2022 EA analyzes the potential effects of the rangeland pesticides
program in May through August of 2022 and 2023 in 17 Oregon counties, including Jefferson

County and Wasco County. The FONSI approves the conventional or RAATs application of
carbaryl bait or diflubenzuron for the rangeland pesticides program in Oregon and concludes it
will not significantly impact the quality of the human environment.
       120.    Although the 2022 Oregon EA discusses some of the broad features of the major
ecoregions represented by the 17 counties (such as watersheds, weather conditions, and
topography), it does not discuss any specific places where spraying is likely to occur and thus
does not analyze the environmental baseline or impacts of pesticide treatments in those areas.
       121.    The 2022 Oregon EA states that “it is not possible to predict the precise locations

where grasshopper outbreaks will occur in any given year,” and so limits its “site-specific”
analysis to broad generalizations at a regional level. But the EA does not adequately explain why
it cannot use information about past treatments, treatment requests received before the Draft EA
was published, annual hazard maps, and/or other survey data to make educated assumptions
about where treatments will occur and then actually analyze the environmental effects to the
unique resources and species present in those areas. And while APHIS suggests that such site-
specific analyses are impossible because grasshopper outbreaks present “emergencies,” APHIS
has not, on information and belief, invoked NEPA’s emergency procedures in recent years.


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       122.    This failure to analyze site-specific impacts undermines the EA’s impacts analysis
and conclusions. For instance, the 2022 Oregon EA states that “[t]he general public uses
rangelands in the proposed suppression area for a variety of recreational purposes,” but
concludes that the risk of harm to humans is low because of, among other things, “low
population density in the treatment areas.” But it does not mention any specific recreation sites or
make any attempt to analyze the amount of recreation use by residents and visitors combined,
even though well-known areas like Steens Mountain (which contains popular recreation
opportunities like the Oregon Desert Trail) and Mann Lake have repeatedly been subject to
treatments and, based on APHIS’s “hazard map,” are likely to be treated again in 2022–2023.
Indeed, the FONSI contains the easily refuted conclusion that the “areas for potential treatment
are on rangeland in remote locations, with generally limited (or restricted) access of any kind and

away from areas of habitation, congregation, or transportation, as utilized by the general public.”
This failure to analyze site-specific impacts leaves in the dark members of the public who reside
near or recreate on these public lands.
       123.    Further, without information about the actual locations of expected treatment
areas, it is impossible to determine whether applications might occur in ecologically sensitive
areas or in the habitat of federally listed species and other at-risk species, like the Oregon spotted
frog, bull trout, yellow-billed cuckoo, sage-grouse, and many species of native bees and
butterflies that exist in Oregon.

               Discussion of Past Treatments and Species Locations
       124.    Like the EIS, the 2022 Oregon EA contains no detailed information about past
treatments. Although it includes a map displaying economic infestations in Oregon from 1953
through 2020, there is no information about where treatments actually occurred based on those
infestations or what the size of those treatments were. It is impossible to determine from the EA
what the scope of the rangeland pesticides program has been in recent years in Oregon.
               Discussion of Direct, Indirect, and Cumulative Impacts




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       125.    According to the EIS, the EAs are supposed to discuss the environmental impacts
of the rangeland pesticides program at a site-specific level. But the 2022 Oregon EA relies
primarily on the EIS’s impacts analysis and provides minimal additional analysis.
       126.    For instance, the EIS states that “site-specific EA[s] would better address” the
potential overlap of the rangeland pesticides program and other pesticide uses. However, the
cumulative impacts analysis in the Oregon EA is even more sparse than the analysis in the EIS
and contains the same flaws. Like the EIS, Oregon’s 2022 EA contains no quantitative
information about pesticide applications conducted by others, despite acknowledging the fact
that “[t]here may be an increased use of these insecticides in an area under suppression when
private, State, or Federal entities make applications to control other pests.” The EA does not even
mention the fact that the Oregon Legislature appropriated five million dollars for state

grasshopper suppression efforts over the next two years and it does not analyze the potential
cumulative impacts of such pesticide use.
       127.    The EA also does not discuss or even acknowledge how the combination of
multiple treatments throughout the West might affect species whose range extends across the
region and multiple potential treatment areas, such as the greater sage-grouse and yellow-billed
cuckoo. Additionally, the geographic area covered by Oregon’s EA could be home to up to 1,000
species of native bees, yet there is little analysis of potential impacts to these important
pollinators.

       128.    Strikingly, Oregon’s 2022 EA—as well as the letter of concurrence APHIS
received in 2022 from the Oregon FWS office—authorizes the application of diflubenzuron at a
rate of 2.0 fluid ounces per acre, which is twice as much as in previous years and twice as much
as the application rate analyzed in the 2019 EIS. The EA does not acknowledge this deviation
from past practice and prior analyses, much less analyze the potential effects of doubling the
application rate of the rangeland pesticides program’s most commonly-used insecticide.
       Idaho’s 2020 Environmental Assessment




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       129.    Idaho’s 2020 EA covers pesticide treatments through 2023 for over two million
acres in 34 counties in Idaho “which might host outbreaks that would require suppression.” The
FONSI approves the conventional or RAATs application of malathion, carbaryl, carbaryl bait, or
diflubenzuron for the rangeland pesticides program in Idaho and concludes it will not
significantly impact the quality of the human environment.
       130.    Unsurprisingly––since all the EAs are drafted off the same template––Idaho’s EA
suffers from many of the same flaws as the Oregon EA. The Idaho EA fails to adequately
analyze site-specific impacts and cumulative impacts and does not contain adequate information
about past grasshopper pesticide treatments or overlap of treatments with locations of
endangered and other at-risk species.
       131.    For example, the Idaho EA’s cumulative impacts analysis states that “most of the

land where program treatments occur is uncultivated rangeland and additional treatments by
landowners or managers are very uncommon making possible cumulative or synergistic
chemical effects extremely unlikely.” Yet, the EA also states that “[t]he proposed grasshopper
suppression area is limited to federal rangelands within one (1) mile of private agricultural
lands,” where significant pesticide use would undoubtedly occur. Thus, the assumption that
cumulative or synergistic chemical effects would be “extremely unlikely” is undermined by the
necessarily close proximity of croplands to rangeland areas treated under the program. Given that
many nontarget species, like native bees and other pollinators, would be mobile between the

rangelands and nearby croplands, those species could face potential cumulative impacts from
pesticide use on both public and private lands.
       Montana’s 2022 Environmental Assessments
       132.    In Montana, APHIS completed three EAs, each of which covers pesticide
treatments in a section of the state through the 2022 season. The EA for the eastern portion of the
state covers nearly 17 million acres of rangeland in 24 counties. The EA for the central portion of
the state covers more than 13 million acres of rangeland in 16 counties. The EA for the western
portion of the state covers more than 26.5 million acres of rangeland in 17 counties. The FONSIs


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approve the conventional or RAATs application of malathion, carbaryl, carbaryl bait, or
diflubenzuron for the rangeland pesticides program in Montana and conclude it will not
significantly impact the quality of the human environment.
        133.    Montana’s EAs suffer from the same flaws as the Oregon and Idaho EAs. Like
those EAs, they fail to adequately analyze site-specific impacts and cumulative impacts. They
also do not contain adequate information about past grasshopper pesticide treatments or overlap
of treatments with locations of federally-listed species and other vulnerable species. Indeed, even
though APHIS has elsewhere admitted that it “protected” 1.3 million acres in Montana in 2021,
that information is nowhere to be found in the Montana EAs.
        Wyoming’s 2022 Environmental Assessment
        134.    Wyoming’s 2022 EA covers grasshopper treatments through the 2027 season for

the entire state.
        135.    Wyoming’s EA suffers from the same flaws as the Oregon, Idaho, and Montana
EAs, because it fails to adequately analyze site-specific impacts and cumulative impacts, and
does not contain adequate information about past grasshopper pesticide treatments or overlap of
treatments with locations of federally-listed species and other at-risk species.
        APHIS’s Compliance with the Endangered Species Act
        136.    Many species listed as threatened or endangered under the ESA have occupied
habitat, potential habitat, and/or critical habitat in areas that may be affected by the rangeland

pesticides program. Some of these species have habitat and ranges that span across multiple
Western states. For example, the Oregon spotted frog, yellow-billed cuckoo, black-footed ferret,
bull trout, Ute ladies’-tresses, and Spalding’s catchfly are each present in multiple states in which
the program operates. APHIS and FWS have acknowledged that many of these and other ESA-
listed species may be affected by pesticides sprayed on rangelands due to the toxic chemicals
used. There can be direct effects to ESA-listed species from pesticide exposure, which can affect
reproductive, neurological, and/or physical well-being, as well as indirect effects, such as loss of
prey or loss of plant pollinators.


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       137.    From 1987 through 1995, APHIS consulted with FWS on the listed species that
may be impacted by the rangeland pesticides program as a whole, and FWS issued annual
biological opinions at the national, programmatic level. The 1995 programmatic BiOp was the
last programmatic BiOp or programmatic letter of concurrence issued by FWS for the rangeland
pesticides program.
       138.    In the 2002 EIS, APHIS stated that it was “preparing the [biological assessment]
that will be used to conduct a new programmatic consultation with FWS” for the rangeland
pesticides program. But APHIS apparently took more than a decade to complete this biological
assessment: on March 9, 2015, APHIS finally submitted a programmatic BA to FWS. On
information and belief, APHIS has since submitted an updated BA. However, no programmatic
BiOp or letter of concurrence was completed prior to issuance of the 2019 ROD, and the 1995

BiOp remains the last programmatic ESA document prepared by FWS.
       139.    Through the 2019 ROD, APHIS authorized and has since carried out a program
that may affect listed species and critical habitat in at least two major ways that were not
addressed by the 1995 BiOp. First, diflubenzuron, was added and is now the most-used pesticide
in the program. This pesticide works in a different manner than other pesticides and thus may
affect listed species in different ways. Second, several species listings and critical habitat
designations have occurred since the last programmatic consultation, so there are harms to listed
species and designated critical habitats that have never been considered by FWS. These species

include the yellow-billed cuckoo, red knot, bull trout, slickspot peppergrass, Spalding’s catchfly,
desert yellowhead, Western glacier stonefly, Northern Idaho ground squirrel, Northern long-
eared bat, Preble’s meadow jumping mouse, and Oregon spotted frog.
       140.    Although APHIS has been consulting with FWS regional offices on a state-by-
state, annual basis concerning state-specific grasshopper pesticide treatments, these annual
consultations cannot substitute for a programmatic consultation that assesses the effects of the
program as a whole and over time. Each year, APHIS submits state-level BAs to the various
FWS regional offices, and FWS issues letters concurring with APHIS’s “no effect” and “not


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likely to adversely affect” determinations as to that treatment year. FWS’s concurrences are
contingent on APHIS implementing mitigation measures such as buffers and other treatment
restrictions.
        141.    State or regional level analyses are not comparable in the scope or scale of
consultation at the programmatic level. Without a completed programmatic consultation, APHIS
has not fully considered the impacts to species that occur in multiple states, such as the
cumulative impacts of pesticide use across a species’ habitat and range. In other words, while the
use of pesticides may appear to not adversely affect a species when viewed over only one
treatment season at a site-specific level, when viewed across a species’ range in multiple states
over the course of several years, there may be adverse impacts on the survival and recovery of
that species. For example, diflubenzuron is highly toxic to most terrestrial invertebrate larvae

including invertebrate pollinators that plants, like the threatened Ute ladies’-tresses and
Spalding’s catchfly, require for reproduction. Even if such impacts are not likely to adversely
affect the species when viewed in one state and one year in isolation, when considering the use
of pesticides across the species’ habitat in multiple states across several years, there may be
adverse impacts on the species through the cumulative reduction of potential pollinator
populations.
        142.    Additionally, mitigation measures can vary state by state even for the same
species. In Montana and Idaho, a three-mile buffer is required for aerial treatments near Ute

ladies’-tresses habitat, yet in Wyoming, no buffer is required for aerial treatments of
diflubenzuron near Ute ladies’-tresses habitat or occupied locations. Further, the 2022 Oregon
letter of concurrence requires APHIS to avoid grasshopper pesticide treatments in “known or
potentially occupied threatened and endangered species habitat,” whereas the 2022 Montana
letter of concurrence approves APHIS’s plan to avoid only known occurrences or critical habitat.
        143.    Programmatic consultation is required to fully assess the effects of the rangeland
pesticides program as a whole to threatened and endangered species and their critical habitats,
and is necessary to ensure that protective measures take into account cumulative impacts to


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species across time and cumulative impacts to species that have habitat and ranges spanning
across multiple states.
       144.    On May 24, 2022, Plaintiffs sent a 60-day notice-of-intent-to-sue letter to APHIS,
FWS, and the Department of the Interior. See 16 U.S.C. § 1540(g)(2)(A)(i). The last notice was
delivered more than 60 days ago.

                                 FIRST CLAIM FOR RELIEF
                                 THE EIS VIOLATES NEPA
       145.    Plaintiffs reallege and incorporate by reference the allegations in paragraphs 1
through 144, inclusive.
       146.    This first claim for relief challenges APHIS’s violations of NEPA and its
implementing regulations, due to the 2019 EIS’s unreasonably narrow purpose and need
statement, its consideration of an unlawfully narrow range of alternatives, its failure to take a

hard look at the likely environmental effects of the alternative actions, and its vague description
of the preferred alternative. This claim for relief is brought against APHIS and Defendant Shea
under NEPA and the APA.
       147.    The EIS’s focus on the need for pesticide treatments to control grasshoppers is
unreasonably narrow in light of 7 U.S.C. § 7717, which instructs APHIS to take a holistic
approach to controlling grasshopper outbreaks. 40 C.F.R. § 1502.13. By focusing only on
reactive grasshopper suppression, the EIS’s purpose and need statement is unreasonably narrow

given the program’s underlying statutory authorization.
       148.    Relatedly, the EIS fails to consider all reasonable alternative actions. The EIS
does not consider an IPM alternative or any other alternative with a focus on prevention, nor
does the EIS consider alternatives emphasizing the use of biological controls or other non-
pesticide methods. Such non-toxic and preventative alternatives are reasonable and should have
been fully considered. Id. § 1502.14.
       149.    The EIS fails to take a hard look at the likely environmental effects of re-
authorizing the rangeland pesticides program in ways including but not limited to the following:


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          a. The EIS does not adequately discuss or analyze baseline conditions because,
             inter alia, it contains no detailed information about past pesticide treatments
             or the results of environmental monitoring efforts. This failure frustrated the
             ability of the public to participate in the NEPA process and deprived agency
             decisionmakers of the information they needed to make an informed decision
             about how to carry out the grasshopper program. Id. § 1500.1(b).
          b. The EIS fails to adequately discuss or analyze mitigation measures. Rather
             than provide a “detailed discussion” and an “assessment of whether the
             proposed mitigation measures can be effective,” the EIS simply mentions use
             of application buffers, adherence to label requirements, and RAATs with little
             or no discussion and scientific support for how these measures will be

             effective, and little or no acknowledgment of facts and data that undermine
             these measures’ assumed efficacy.
          c. The EIS does not analyze or disclose to the public the direct, indirect, and
             cumulative impacts of the rangeland pesticides program and alternatives in
             ways including but not limited to the following:
                  i. The EIS understates and fails to adequately analyze the risks the four
                     broad-spectrum pesticides pose to non-target species and the
                     environment as a whole. For instance, the EIS fails to adequately

                     analyze impacts to native bees, fails to adequately consider toxicity of
                     diflubenzuron to butterfly larvae, does not adequately consider the
                     impact to insects that act as natural predators and parasitoids of
                     grasshoppers, and underestimates the impact to birds, such as the
                     imperiled sage-grouse. Id. § 1508.8.
                 ii. The EIS does not adequately respond to or discuss responsible
                     opposing views regarding the pesticides’ impacts to non-target species,
                     even though such opposing views are reasonable. Id. § 1502.9(b).


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                      iii. The EIS fails to analyze the impacts of pesticide spraying to sensitive
                           areas such as wilderness areas, wilderness study areas, areas of critical
                           environmental concern, and wildlife refuges even though spraying has
                           occurred and will likely continue to occur in such areas. Id. § 1508.8.
                      iv. The EIS does not discuss how the combination of multiple program
                           treatments throughout the West might affect species whose range
                           extends across the region. And, while the EIS admits that other agency
                           programs as well as other federal, state, and private programs may
                           apply insecticides and herbicides in or near areas likely to be treated
                           for grasshopper infestations, there is little or no quantified or detailed
                           information offered about those other treatments and how their

                           impacts might combine with impacts from the rangeland pesticides
                           program. Id. § 1508.7.
       150.    Finally, the EIS fails to describe the preferred alternative in sufficient detail due to
vagueness and indeterminacy concerning the threshold for treating grasshopper outbreaks. The
EIS (and ROD) contain no detailed or useful information about when or how APHIS assesses
whether an outbreak has risen to the level of an “economic infestation.” The EIS defines the term
“economic infestation” and the factors it may consider, but does not explain how such factors are
considered or weighed to make a determination. This prevents the public from understanding

how APHIS makes its treatment decisions. Moreover, the EIS does not discuss at all how APHIS
will determine whether “delaying treatment will not cause greater economic damage to adjacent
owners of rangeland.” As a result, the contours of the preferred alternative are impossible to
determine from the EIS and ROD.
       151.    In sum, the EIS contains an unreasonably narrow purpose and need statement,
does not consider a reasonable range of alternatives, fails to take a hard look at the effects of re-
authorizing the rangeland pesticides program, and contains an insufficiently definite description
of the preferred alternative, all in violation of NEPA. By approving this unlawful EIS and


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adopting its preferred alternative, the ROD also violates NEPA. Accordingly, the EIS and ROD
are arbitrary, capricious, an abuse of discretion, and not in accordance with the law, and must be
set aside pursuant to the APA, 5 U.S.C. § 706(2)(A).
                             SECOND CLAIM FOR RELIEF
                           OREGON’S 2022 EA VIOLATES NEPA
       152.    Plaintiffs reallege and incorporate by reference the allegations in paragraphs 1
through 144, inclusive.
       153.    This second claim for relief challenges APHIS’s 2022 EA for Oregon for
violating NEPA and its implementing regulations, due to the EA’s failure to take a hard look at
the likely environmental effects of the 2022–2023 rangeland pesticides program in Oregon. This
claim for relief is brought against APHIS and Defendant Shea under NEPA and the APA.
       154.    The Oregon 2022 EA fails to take a hard look at the likely environmental effects
of the preferred alternative for the rangeland pesticides program in Oregon in ways including but
not limited to the following:
               a. Despite being the “site-specific” analysis for the rangeland pesticides program
                   in Oregon, the EA does not adequately analyze the site-specific impacts of the
                   rangeland pesticides program in Oregon. The EA fails to disclose or analyze
                   likely treatment areas, the current baseline conditions in those areas, and the
                   impacts of pesticide treatments on the resources located in those areas,
                   including impacts to popular recreation destinations like the Steens Mountain
                   and Mann Lake areas as well as impacts to native bees and other populations
                   of sensitive species.
               b. The EA fails to disclose past treatment locations as well as the amount of
                   pesticides applied in those areas and fails to disclose or analyze any
                   information about the effects of those past treatments on the environment.
               c. The EA does not analyze or disclose to the public the direct, indirect, and
                   cumulative impacts of the rangeland pesticides program in Oregon. For



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                   example, the EA does not adequately analyze the potential cumulative impacts
                   of the rangeland pesticides program in Oregon combined with pesticide
                   applications conducted by other federal agencies, state actors, Native
                   American tribes, and private actors.
       155.    In sum, the Oregon 2022 EA fails to take a hard look at the likely effects of the
rangeland pesticides program in Oregon, in violation of NEPA. By approving this unlawful EA
and adopting its preferred alternative, the FONSI also violates NEPA. Accordingly, the 2022
Oregon EA and FONSI are arbitrary, capricious, an abuse of discretion, and not in accordance
with the law, and must be set aside pursuant to the APA, 5 U.S.C. § 706(2)(A).

                               THIRD CLAIM FOR RELIEF
                            IDAHO’S 2020 EA VIOLATES NEPA
       156.    Plaintiffs reallege and incorporate by reference the allegations in paragraphs 1

through 144, inclusive.
       157.    This third claim for relief challenges APHIS’s 2020 EA for Idaho for violating
NEPA and its implementing regulations, due to the EA’s failure to take a hard look at the likely
environmental effects of the 2020–2023 rangeland pesticides program in Idaho. This claim for
relief is brought against APHIS and Defendant Shea under NEPA and the APA.
       158.    The 2020 Idaho EA fails to take a hard look at the likely environmental effects of
the preferred alternative for the rangeland pesticides program in Idaho in ways including but not

limited to the following:
               a. Despite being the “site-specific” analysis for the rangeland pesticides program
                   in Idaho, the EA does not adequately analyze the site-specific impacts of the
                   rangeland pesticides program in Idaho. The EA fails to disclose or analyze
                   likely treatment areas, the current baseline conditions in those areas, and the
                   impacts of pesticide treatments on the resources located in those areas,
                   including impacts to popular recreation destinations like the Owyhee Front.




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               b. The EA fails to disclose past treatment locations as well as the amount of
                   pesticides applied in those areas and fails to disclose or analyze any
                   information about the effects of those past treatments on the environment.
               c. The EA does analyze or disclose to the public the direct, indirect, and
                   cumulative impacts of the rangeland pesticides program in Idaho. The EA’s
                   assumption that cumulative or synergistic chemical effects would be
                   “extremely unlikely” is undermined by the close proximity of treatment areas
                   to croplands where pesticide use almost certainly occurs.
       159.    In sum, the 2020 Idaho EA fails to take a hard look at the likely effects of the
rangeland pesticides program in Idaho, in violation of NEPA. By approving this unlawful EA
and adopting its preferred alternative, the FONSI also violates NEPA. Accordingly, the 2020

Idaho EA and FONSI are arbitrary, capricious, an abuse of discretion, and not in accordance with
the law, and must be set aside pursuant to the APA, 5 U.S.C. § 706(2)(A).

                            FOURTH CLAIM FOR RELIEF
                          MONTANA’S 2022 EAs VIOLATE NEPA
       160.    Plaintiffs reallege and incorporate by reference the allegations in paragraphs 1
through 144, inclusive.
       161.    This fourth claim for relief challenges two of APHIS’s 2022 EAs for Montana6
for violating NEPA and its implementing regulations due to their failure to take a hard look at

the likely environmental effects of the 2022 rangeland pesticides program in Montana. This
claim for relief is brought against APHIS and Defendant Shea under NEPA and the APA.
       162.    The Montana 2022 EAs fail to take a hard look at the likely environmental effects
of the preferred alternative for the rangeland pesticides program in Montana in ways including
but not limited to the following:




6
 Plaintiffs are challenging the EA for the eastern portion of the state, EA Number MT-22-01,
and the EA for the central/northern portion of the state, EA Number MT-22-02.

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               a. Despite being the “site-specific” analyses for the rangeland pesticides
                  program in portions of Montana, the EAs do not analyze the site-specific
                  impacts of the rangeland pesticides program in those portions of the state. The
                  EAs fail to disclose or analyze likely treatment areas, the current baseline
                  conditions in those areas, and the impacts of pesticide treatments on the
                  resources located in those areas, including impacts to sensitive areas such as
                  the War Horse National Wildlife Refuge.
               b. The EAs fail to disclose past treatment locations as well as the amount of
                  pesticides applied in those areas and fail to disclose or analyze any
                  information about the effects of those past treatments on the environment.
               c. The EAs do not analyze or disclose to the public the direct, indirect, and

                  cumulative impacts of the rangeland pesticides program and alternatives. For
                  example, the EAs do not adequately analyze the potential cumulative impacts
                  of the rangeland pesticides program in Montana combined with pesticide
                  applications conducted by other federal agencies, state actors, Native
                  American tribes, and private actors.
       163.    In sum, the 2022 Montana EAs are inadequate because they fail to take a hard
look at the likely effects of the rangeland pesticides program in Montana, in violation of NEPA.
By approving this unlawful EA and adopting its alternatives, the FONSI also violates NEPA.

Accordingly, the 2022 Montana EAs and FONSIs are arbitrary, capricious, an abuse of
discretion, and not in accordance with the law, and must be set aside pursuant to the APA, 5
U.S.C. § 706(2)(A).

                             FIFTH CLAIM FOR RELIEF
                          WYOMING’S 2022 EA VIOLATES NEPA
       164.    Plaintiffs reallege and incorporate by reference the allegations in paragraphs 1
through 144, inclusive.




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       165.    This fifth claim for relief challenges APHIS’s 2022 EA for Wyoming for
violating NEPA and its implementing regulations, due to the EA’s failure to take a hard look at
the likely environmental effects of the 2022–2027 rangeland pesticides program in Wyoming.
This claim for relief is brought against APHIS and Defendant Shea under NEPA and the APA.
       166.    The 2022 Wyoming EA fails to take a hard look at the likely environmental
effects of the preferred alternative for the rangeland pesticides program in Wyoming in ways
including but not limited to the following:
               a. Despite being the “site-specific” analysis for the rangeland pesticides program
                   in Wyoming, the EA does not analyze the site-specific impacts of the
                   rangeland pesticides program in Wyoming. The EA fails to disclose or
                   analyze likely treatment areas, the current baseline conditions in those areas,

                   and the impacts of pesticide treatments on the resources located in those areas.
               b. The EA fails to disclose past treatment locations as well as the amount of
                   pesticides applied in those areas and fails to disclose or analyze any
                   information about the effects of those past treatments on the environment.
               c. The EA does not analyze or disclose to the public the direct, indirect, and
                   cumulative impacts of the rangeland pesticides program in Wyoming. For
                   example, the EA does not adequately analyze the potential cumulative impacts
                   of the rangeland pesticides program in Wyoming combined with pesticide

                   applications conducted by other federal agencies, state actors, Native
                   American tribes, and private actors.
       167.    In sum, the 2022 Wyoming EA fails to take a hard look at the likely effects of the
rangeland pesticides program in Wyoming, in violation of NEPA. By approving this unlawful
EA and adopting its preferred alternative, the FONSI also violates NEPA. Accordingly, the
2022 Wyoming EA and FONSI are arbitrary, capricious, an abuse of discretion, and not in
accordance with the law, and must be set aside pursuant to the APA, 5 U.S.C. § 706(2)(A).




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                        SIXTH CLAIM FOR RELIEF
         FAILURE TO COMPLETE PROGRAMMATIC ESA CONSULTATION
       168.    Plaintiffs reallege and incorporate by reference the allegations in paragraphs 1
through 144, inclusive.
       169.    This sixth claim for relief challenges APHIS’s re-authorization of its rangeland

pesticides program in the 2019 EIS and ROD, as well as its continued implementation of the
program, without first completing programmatic ESA consultation with FWS. Alternatively, this
claim challenges APHIS’s failure to reinitiate consultation at the programmatic level. This claim
is brought pursuant to the ESA citizen provision, 16 U.S.C. § 1540(g)(1)(A).
       170.    The signing of the 2019 ROD was an agency action that re-authorized APHIS’s
rangeland pesticides program. APHIS was required to complete ESA consultation over the
effects of that program as a whole to ensure the program would not jeopardize the survival and
recovery of any ESA-listed species or modify any designated critical habitat. 16 U.S.C. §
1536(a)(2). By failing to complete a new programmatic consultation before signing the ROD,
APHIS violated section 7(a)(2) of the ESA.
       171.    APHIS also failed to reinitiate consultation at the programmatic level to

incorporate new species listings and critical habitat designations as well as changes to the
program since its 1995 programmatic consultation with FWS, as required by the ESA
regulations. 50 C.F.R. § 402.16(a).

       172.    Each year, APHIS continues to take affirmative agency action by carrying out its
rangeland pesticides program across the West. By doing so under the outdated 1995 biological
opinion, APHIS risks overlooking effects that its program taken as a whole may have across time
and on threatened and endangered species that are present in multiple Western states.
       173.    APHIS has thus violated and continues to violate the procedural requirements of
section 7(a)(2) of the ESA, 16 U.S.C. § 1536(a)(2), and its implementing regulations, 50 C.F.R.
§§ 402.14, 402.16(a). This Court can review this claim and remedy these violations by awarding
Plaintiffs injunctive relief pursuant to the ESA citizen suit provision. 16 U.S.C. § 1540(g)(1)(A)



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(allowing courts “to enjoin any person, including the United States and any other governmental
instrumentality or agency . . ., who is alleged to be in violation of” the ESA).

                    SEVENTH CLAIM FOR RELIEF
THE RANGELAND PESTICIDES PROGRAM SELECTED IN THE ROD AND STATE-
     LEVEL FONSIS VIOLATE THE PLANT PROTECTION ACT and FIFRA
       174.    Plaintiffs reallege and incorporate by reference the allegations in paragraphs 1
through 144, inclusive.
       175.    This seventh claim for relief challenges APHIS’s decisions to adopt the preferred
alternative in the 2019 ROD, 2022 Oregon FONSI, 2020 Idaho FONSI, 2022 FONSIs for eastern
(MT-22-01) and central/northern (MT-22-02) Montana, and 2022 Wyoming FONSI, as well as
its actions implementing the preferred alternative while carrying out the rangeland pesticides
program. These decisions and actions are all final agency actions challenged under the APA, 5
U.S.C. § 706(2)(A).
       176.    APHIS’s rangeland pesticides program must comply with the laws authorizing
and otherwise governing the program: the Plant Protection Act, 7 U.S.C. § 7717, and FIFRA, 7
U.S.C. § 136r–1. These statutes require federal agencies to implement IPM techniques. APHIS’s
decisions to adopt the preferred alternative in the 2019 ROD and state-level FONSIs, and its
actions implementing the rangeland pesticides program, are arbitrary, capricious, and/or not in
accordance with these laws for at least the following reasons:
               a. APHIS based its decisions and actions, at least in part, on the legally
                   erroneous premise that implementing most IPM measures on federal land is
                   beyond its authority.
               b. APHIS failed to provide a reasoned explanation for how the program selected
                   in the ROD and FONSIs comports with the requirements of 7 U.S.C. § 7717
                   and 7 U.S.C. § 136r–1, both of which require an emphasis on IPM techniques.




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               c. The program selected by APHIS is not in accordance with law because it is
                   inconsistent with 7 U.S.C. § 7717 and 7 U.S.C. § 136r-1, both of which
                   require an emphasis on IPM techniques.
       177.    Accordingly, the 2019 ROD, 2022 Oregon FONSI, 2020 Idaho FONSI, 2022
FONSIs for eastern (MT-22-01) and central/northern (MT-22-02) Montana, and 2022 Wyoming
FONSI must be set aside as arbitrary, capricious, an abuse of discretion, and not in accordance
with law pursuant to the APA. 5 U.S.C. § 706(2)(A).
                                    PRAYER FOR RELIEF
       Plaintiffs respectfully pray that this Court grant the following relief:
       A.      Adjudge and declare that APHIS’s EIS for its rangeland pesticides program
violates NEPA and the APA;

       B.      Adjudge and declare that APHIS’s 2022 EA for Oregon, 2020 EA for Idaho, 2022
EAs for eastern (MT-22-01) and central/northern (MT-22-02) Montana, and 2022 EA for
Wyoming violate NEPA and the APA;
       C.      Adjudge and declare that APHIS’s failure to complete programmatic ESA
consultation with FWS before re-authorizing the rangeland pesticides program in the 2019 ROD,
as well as its continued implementation of the program without reinitiating consultation over the
1995 programmatic BiOp, violates the ESA and its implementing regulations;
       D.      Adjudge and declare that APHIS’s ROD for its rangeland pesticides program

violate FIFRA, the Plant Protection Act, and the APA;
       E.      Adjudge an declare that APHIS’s 2022 FONSI for Oregon, 2022 FONSI for
Idaho, and 2022 FONSIs for eastern (MT-22-01) and central/northern (MT-22-02) Montana, and
2022 FONSI for Wyoming violate the Plant Protection Act, FIFRA, and the APA;
       F.      Vacate the EIS and associated ROD and remand to APHIS to address the legal
violations alleged herein;




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         G.      Vacate the 2022 EA and FONSI for Oregon, 2020 EA and FONSI for Idaho, 2022
EAs and FONSIs for eastern (MT-22-01) and central/northern (MT-22-02) Montana, and 2022
EA for Wyoming and remand to APHIS to address the legal violations alleged herein;
         H.      Order APHIS to complete programmatic ESA consultation with FWS over the
rangeland pesticides program by a date certain;
         I.      Order such other declaratory relief; temporary, preliminary, or permanent
injunctive relief, and/or vacatur as may be prayed for hereafter by Plaintiffs to remedy
Defendants’ violations of law;
         J.      Award Plaintiffs their reasonable costs, litigation expenses, and attorneys’ fees
associated with this litigation under the Equal Access to Justice Act, 28 U.S.C. § 2412 et seq.,
the ESA, 16 U.S.C. § 1540(g) and all other applicable authorities; and/or

         K.      Grant such further and additional relief as the Court deems just and proper in
order to remedy the violations of law alleged herein and to protect the interests of Plaintiffs




         Dated: September 2, 2022                      Respectfully submitted,


                                                       /s/ Hannah A. Goldblatt
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7
    Counsel’s last name was changed from Clements to Goldblatt since the last filing.

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